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 Fill in this information to identify the case:
 Debtor name Media Lodge, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 50 Campfires, LLC                                                                                                                                                        $11,778.84
 PO BOX 685
 Lebanon, GA 30146
 Armory Forums LLC                                                                                                                                                          $8,150.89
 1266 Shorecrest Cir
 Clermont, FL 34711
 Auction Armory                                                                                                                                                           $14,040.54
 2875 S Orange Ave
 Suite 500-2715
 Orlando, FL 32806
 AvidOutdoorsman                                                                                                                                                            $2,073.66
 PO Box 685
 Lebanon, GA 30146
 Christopher Serrano                                                                                                                                                      $14,877.80
 PO Box 46
 Whittier, CA 90608
 Clifton Reinwand                                                                                                                                                           $1,925.00
 1401 32nd Ave NE
 Minneapolis, MN
 55418
 Concealed Nation,                                                                                                                                                          $8,527.02
 LLC
 4683 Winston Ln N
 Sarasota, FL 34235
 Don Porter                                                                                                                                                                 $3,750.00
 235 Trotter Drive
 Piedmont, SC 29673
 Forward Media                                                                                                                                                                $991.41
 Partners, LLC
 7 Jeffrey Lane
 Chappaqua, NY
 10514
 GunGenius                                                                                                                                                                  $4,287.00
 PO BOX 2511
 Kennesaw, GA
 30156



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 Debtor    Media Lodge, Inc.                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 GunUp, Inc.                                                                            Disputed                                                                      $2,478,990.77
 c/o Stephen C.
 Willey, SBN 209164
 Savitt Bruce &
 Willey LLP
 1425 Fourth Avenue,
 Suite 800
 Seattle, WA
 98101-2272
 Jeff Siegel                                                                                                                                                                $1,152.72
 130 Belden Hill
 Road
 Wilton, CT 06897
 Karen Lynn Pikula                                                                                                                                                          $1,200.00
 8844 Lewisburg
 Road
 Lewisburg, KY
 42256
 Listrak                                                                                                                                                                $115,475.34
 100 W. Millport Road
 Lititz, PA 17543
 Nelson Mullins Riley                                                                                                                                                         $717.30
 & Scarborough LLP
 Attn: Accounts
 Receivable
 PO Drawer 11009
 Columbia, SC 29211
 Outdoors.com                                                                                                                                                             $11,323.12
 PO Box 685
 Lebanon, GA 30146
 R.M. Warner, PLC                                                                                                                                                         $10,129.88
 8283 N. Hayden
 Road
 Suite 229
 Scottsdale, AZ
 85258
 Ryan Companies                                                                                                                                                             $1,598.77
 US, Inc.
 11095 Viking Drive
 Suite 215
 Eden Prairie, MN
 55344
 The Ardent Group                                                                                                                                                             $920.17
 9450 Pinecroft Dr.,
 #9133
 The Woodlands, TX
 77380
 Wiggin and Dana                                                                                                                                                            $4,392.12
 LLP
 PO Box 1832
 New Haven, CT
 06508-1832


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